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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBJA

UNITED STATES OF AMERICA,

        V.
                                                    CRIMINAL NO. Sl 23-cr-257 (TSC)
DONALD J. TRUMP,

                       Defendant.           *
                                            *

                    WAIVER OF DEFENDANT'S PRESENCE AT
                 ARRAIGNMENT AND ENTRY OF NOT GUILTY PLEA

       I, President Donald J. Trump, the above-named defendant, in accordance with Federal

Rule of Criminal Procedure 10(b)(2), do hereby waive my right to be present at Arraignment and

I authorize my attorneys to enter a plea of not guilty on my behalf to each and every count of the

superseding indictment, Doc. 226. I further state that I have received a copy of the s perseding

indictment and reviewed it with my counsel.

Dated: September 3, 2024


Counsel for President Trump                          PRESIDENT DONALD J. TRUMP
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